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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


  TJNITED STATES OF AMERICA                              *                       ,6.' 1 Y!-K0-M
                                                        *           CRIMINAL NO. l€Ettt}€B:
  v.                                                    *
                                                        *
  LA TONIA EVANS                                        :r




                               FINAL JUDGMENT OF FORFEITURE

          WHEREAS, on August20,20l0 a Plea Agreement was entered between the Defendant,



  Nine of the indictment. As a condition of her guiltyplea, the defendant, LA TONIA EVANS

  confessed to forfeit all of her right, title and interest in the property as set forth in the forfeiture

  allegation of the indictment and the plea agreement and which is forfeitable to the United States

  pursuant to Title 21 United States Code, Section 853. Pursuant to the Plea Agreement,

  Defendant, LA TONIA EVANS, agreed to and confessed to forfeit the following property:

          (1) $400.00 in United States currencyl and

          (2) One.32 caliber revolver, serial number 71892 and ammunition, all seized

          from the defendantos residence during the execution of a search warrant on June 15,

          2010.


         WHEREAS, The United States properly published notice of the forfeiture of the above

  described property and the requirements for filing a claim for the property for 30 consecutive

  days starting April 6,2071, on www.forfeiture.sov. (Ad # 111885). A Proof of Publication was

  filed on May 11,2011, (Doc. 547), speciffing the details of this publication. No third-parties
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  have come forward to assert an interest in the subject property in the time required under Title

  21, U.S.C, $ 853(n).

         NOW THEREFORE,IT IS HEREBY ORDERED, ADJUDGED AND DECREEI)

  that the following property is forfeited to The United States of America pursuant to Title 21,

  United States Code, Section 853 and Title 18, United States Code, Section 982(a)(1) and Federal

  Rule of Criminal Procedure 32.2(b), for disposition according to law:

         (1) (1) $400.00 in United States currencyl and

         (2) One.32 caliber revolver, serial number 71892 and ammunition, all seized

         from the defendantos residence during the execution of a search warrant on June 15,

         2010.


         IT IS FURTHER ORDERED that the Court shall retain jurisdiction in the case for the

  pulpose of enforcing this Order; and

         IT IS FURTHER ORDERED that the Clerk of the Court shall forward three (3)

  certified copies of this Order to Assistant United States Attorney Michele C. O'Brien.


                                  {4
         DONE AND ORDERED this lL/ 'day of June, 2011.




                                               KRISTI K. DuBOSE
                                               TiNITED STATES DISTRICT ruDGE
